Case 19-53917-sms        Doc 89     Filed 04/05/23 Entered 04/05/23 12:39:56             Desc Main
                                   Document      Page 1 of 10



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE: BARBARA JENNINGS,                             CASE NO. 19-53917-SMS

        DEBTOR.                                       CHAPTER 7

                                    NOTICE OF HEARING

      PLEASE TAKE NOTICE that the above-named Debtor has filed a MOTION TO RE-
CONVERT CASE TO CHAPTER 13 and related papers with the Court seeking an order
converting this case from Chapter 7 to chapter 13.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: toll-free number: 1-833-568-
8864; access code 161 179 4270; at 10:15 A.M. on May 2, 2023 in Courtroom 1201, U.S.
Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the “Hearing
Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your views, then you and/or
your attorney must attend the hearing. You may also file a written response to the pleading with
the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk's Office is: Clerk, U. S. Bankruptcy
Court, Room 1340, 75 Ted Turner Drive, SW, Atlanta, GA 30303. You must also mail a copy of
your response to the undersigned at the address stated below.




                                             Page 1 of 7
Case 19-53917-sms     Doc 89    Filed 04/05/23 Entered 04/05/23 12:39:56    Desc Main
                               Document      Page 2 of 10




      Dated: April 5, 2023



                                                 Respectfully submitted,



      Hait & Kuhn                                 /s/ Alexander Gray Hait
      185 Stockwood Drive                         Alexander Gray Hait
      Suite 100                                   Georgia Bar No. 316359
      Woodstock, GA 30188                         Attorney for Debtor
      Phone: 770-517-0045
      Email: all@northmetrolitigators.com




                                        Page 2 of 7
Case 19-53917-sms       Doc 89    Filed 04/05/23 Entered 04/05/23 12:39:56            Desc Main
                                 Document      Page 3 of 10



                   IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 IN RE: BARBARA JENNINGS,                           CASE NO. 19-53917-SMS

        DEBTOR.                                     CHAPTER 7

                  MOTION TO RE-CONVERT CASE TO CHAPTER 13

       COMES NOW the above-named DEBTOR, by and through the undersigned counsel, and
files this Motion to Re-Convert Case to Chapter 13, showing the court as follows:


1. The Debtor commenced this case on March 11, 2019 by filing a voluntary petition for relief
   under Chapter 13 of Title 11 of the United States Bankruptcy Code.
2. The Debtor’s case was confirmed by this Court on May 14, 2019.
3. Debtor was previously represented by attorney David Galler of Galler Law, who passed away
   on July 15, 2021 after a battle with cancer. The timing of his passing was unexpected and his
   remaining staff did their best to wind up the affairs of Galler Law in the months afterwards.
4. On September 23, 2021, attorney Brandon K. Honsalek with Honsalek Law, LLC took over as
   Debtor’s counsel.
5. On November 20, 2018, prior to filing this bankruptcy case, Debtor was involved in a car
   accident and on the same day retained the services of John T. Ruff, Esq. with Kenneth S.
   Nugent, P.C. to assist Debtor with pursuing a personal injury claim.
6. On or about April 2020, Mr. Ruff obtained a settlement agreement on the personal injury claim
   for the total amount of $17,500.00. A true and correct copy of the settlement memorandum
   prepared by Mr. Ruff’s office detailing the settlement proceeds and proposed disbursement
   (the “Settlement Memorandum”) is attached hereto as “Exhibit A.”
7. Upon information and belief, Mr. Ruff notified Galler Law of the settlement in May of 2020.
8. Upon information and belief, due to miscommunication and disputes between Galler Law and
   Mr. Ruff’s office, an application to employ Mr. Ruff as special counsel was not filed until
   January 4, 2021.




                                           Page 3 of 7
Case 19-53917-sms       Doc 89     Filed 04/05/23 Entered 04/05/23 12:39:56           Desc Main
                                  Document      Page 4 of 10



9. On January 4, 2021, Galler Law on behalf of Debtor filed an Application to Employ John T.
   Ruff, Esq., c/o Kenneth S. Nugent, P.C. as special counsel (Doc. No. 38). An Order Approving
   Application to Employ Special Counsel was entered on January 6, 2021 (Doc. No. 39).
10. Upon information and belief, in July of 2021 Mr. Ruff’s office obtained debtor’s permission
   to send a check in the amount $10,312.78 to Galler Law, said amount comprising the amount
   for medical bills and the net amount due to the client. It is unclear why the $6,631.00 for the
   medical bills was not first deducted and remitted pursuant to the Settlement Memorandum.
11. Upon information and belief, Mr. Ruff retired in September or October of 2021. Upon
   information and belief, Galler Law received the check for $10,312.78 sometime in September
   2021 and sent it directly to Debtor.
12. Due to lack of communication and counsel from Galler Law, Debtor was unaware that she did
   not yet have court approval to spend the $10,312.78.
13. Debtor therefore used the $10,312.78 to pay off medical bills, Bereda Pest Control and some
   home repairs.
14. On or about February 3, 2022, Attorney Honsalek filed an amended Schedules A/B and C
   showing the pre-petition accident claim and claiming the full $10,312.78 as exempt, Doc. No.
   54.
15. On or about February 3, 2022, Attorney Honsalek filed a Motion to Approve Settlement
   Agreement, Compensation of Special Counsel and Disbursement of Funds, Doc. No. 55.
16. On or about February 10, 2023, the Chapter 13 Trustee filed a “Response to Motion to Approve
   Settlement Agreement, Compensation of Special Counsel and Disbursement of Funds”, Doc.
   No. 56.
17. On or about February 28, 2023, Attorney Honsalek filed an Amended Motion to Approve
   Settlement Agreement, Compensation of Special Counsel and Disbursement of Funds, Doc.
   No. 57.
18. On or about March 25, 2022, the U.S. Trustee filed a “Response to Motion to Approve
   Settlement Agreement, Compensation of Special Counsel and Disbursement of Funds”, Doc.
   No. 58.
19. On or about March 28, 2022, Attorney Honsalek filed a Withdrawal of Document for the
   Motion to Approve Settlement, Doc. No. 59.



                                           Page 4 of 7
Case 19-53917-sms       Doc 89     Filed 04/05/23 Entered 04/05/23 12:39:56           Desc Main
                                  Document      Page 5 of 10



20. Upon information and belief the Debtor had provided all information needed for the Motion to
   Approve Settlement as well as the Schedules were amended to exempt the full amount of the
   pre-petition claim of $10,312,78.
21. On or about September 12, 2022, the Chapter 13 Trustee filed a Motion to Convert case to
   Chapter 7, Doc. No. 60. A hearing was scheduled for October 18, 2022 then reset to November
   15, 2022.
22. On or about October 17, 2022, Attorney Honsalek filed a Modification of Confirmed Chapter
   13 Plan, Doc. No 61. A Hearing was scheduled for November 15, 2022.
23. Both the hearings for the Modification for Chapter 13 Plan and the Trustee’s Motion to Convert
   Case to Chapter 7 was held the same day on November 15, 2023. Counsel for Debtor
   confirmed with the Chapter 13 Trustee that he was not opposing the Modification and therefore
   it would be approved.
24. On or about November 15, 2022, an Order Approving Debtor’s Modification of Chapter 13
   was entered, Doc. No. 62.
25. On or about December 5, 2022, an Order GRANTING Trustee’s Motion to Convert to Chapter
   7 was entered, Doc. No. 64.
26. Upon information and belief Counsel for the Debtor did not appear at the hearing on November
   15, 2022.
27. Upon information and belief Counsel did not appear because he was advised that the
   Modification would not be opposed and that would remove the request for conversion to
   Chapter 7.
28. Counsel’s omission was in error and therefore a Order Granting Conversion was entered on
   December 5, 2022.
29. Debtor did not want the case to be converted to a Chapter 7 and her plan modification was
   approved in November 2022.
30. Debtor is eligible to be a Debtor under Chapter 13 of the Bankruptcy Code and request an
   Order converting this case back to a Chapter 13.
WHEREFORE, Debtor prays that this Motion be granted and an Order entered re-converting this
case to Chapter 13 and for any other relief as the Court may deem just and proper.




                                            Page 5 of 7
Case 19-53917-sms     Doc 89    Filed 04/05/23 Entered 04/05/23 12:39:56    Desc Main
                               Document      Page 6 of 10



      Dated: April 5, 2023

                                                 Respectfully submitted,

      Hait & Kuhn                                 /s/ Alexander Gray Hait
      185 Stockwood Drive                         Alexander Gray Hait
      Suite 100                                   Georgia Bar No. 316359
      Woodstock, GA 30188                         Attorney for Debtor
      Phone: 770-517-0045
      Email: all@northmetrolitigators.com




                                        Page 6 of 7
Case 19-53917-sms        Doc 89    Filed 04/05/23 Entered 04/05/23 12:39:56            Desc Main
                                  Document      Page 7 of 10



                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE: BARBARA JENNINGS,                            CASE NO. 19-53917-SMS

        DEBTOR.                                      CHAPTER 7

                                CERTIFICATE OF SERVICE

       I hereby certify that I have electronically filed the foregoing MOTION TO RE-
CONVERT CASE TO CHAPTER 13 and NOTICE OF HEARING using the Bankruptcy
Court’s Electronic Case Filing program, which sends a notice of this document and an
accompanying link to this document to the parties who have appeared in this case under the
Bankruptcy Court’s Electronic Case Filing program.

       I further certify that I am over the age of 18 and I have this day mailed a true and correct
copy of the MOTION TO RE-CONVERT CASE TO CHAPTER 13 and NOTICE OF
HEARING by placing the same in a properly addressed envelope with sufficient postage to ensure
delivery and depositing the same in the United States Mail, addressed to:

All Entities on the Attached Mailing Matrix

       Dated: April 5, 2023



                                                     Respectfully submitted,



       Hait & Kuhn                                    /s/ Alexander Gray Hait
       185 Stockwood Drive                            Alexander Gray Hait
       Suite 100                                      Georgia Bar No. 316359
       Woodstock, GA 30188                            Attorney for Debtor
       Phone: 770-517-0045
       Email: all@northmetrolitigators.com




                                            Page 7 of 7
               Case 19-53917-sms          Doc 89   Filed 04/05/23            Entered 04/05/23 12:39:56      Desc Main
Label Matrix for local noticing               Jonathan S. Adams
                                                  Document           Page 8 of 10             Bank Of America
113E-1                                        Office of the United States Trustee             Po Box 982238
Case 19-53917-sms                             362 Richard B Russell Federal Building          El Paso, TX 79998-2238
Northern District of Georgia                  75 Ted Turner Drive, SW
Atlanta                                       Atlanta, GA 30303-3315
Wed Apr 5 12:37:45 EDT 2023
Bank of America, N.A.                         Michael J. Bargar                               Michael J. Bargar
P O Box 982284                                Rountree Leitman Klein & Geer LLC               Rountree Leitman Klein & Geer LLC
El Paso, TX 79998-2284                        Century Plaza                                   Century Plaza I
                                              2987 Clairmont Road, Suite 350                  2987 Clairmont Road, Suite 350
                                              Atlanta, GA 30329-4435                          Atlanta, GA 30329-4435

Capital One Bank (USA), N.A.                  Capital One Bank (USA), N.A.                    (p)CAPITAL ONE
by American InfoSource as agent               by American InfoSource as agent                 PO BOX 30285
4515 N Santa Fe Ave                           PO Box 71083                                    SALT LAKE CITY UT 84130-0285
Oklahoma City OK 73118-7901                   Charlotte, NC 28272-1083


Chase Bank USA, N.A.                          (p)JPMORGAN CHASE BANK N A                      Coast Professional, Inc.
c/o Robertson, Anschutz & Schneid, P.L.       BANKRUPTCY MAIL INTAKE TEAM                     PO Box 2899
6409 Congress Avenue, Suite 100               700 KANSAS LANE FLOOR 01                        West Monroe, LA 71294-2899
Boca Raton, FL 33487-2853                     MONROE LA 71203-4774


Department Stores National Bank               Fedloan                                         Ford Motor Credit Comp
c/o Quantum3 Group LLC                        Po Box 60610                                    Po Box Box 542000
PO Box 657                                    Harrisburg, PA 17106-0610                       Omaha, NE 68154-8000
Kirkland, WA 98083-0657


(p)FORD MOTOR CREDIT COMPANY                  Gastroenterlogy Specialists                     (p)GEORGIA DEPARTMENT OF REVENUE
P O BOX 62180                                 721 Wellness Way                                COMPLIANCE DIVISION
COLORADO SPRINGS CO 80962-2180                Suite 100                                       ARCS BANKRUPTCY
                                              Lawrenceville, GA 30046-3304                    1800 CENTURY BLVD NE SUITE 9100
                                                                                              ATLANTA GA 30345-3202

Georiga Department of Revenue                 Gwinnett Emergency Specialists                  Gwinnett Medical Center
1800 Georgia Department of Revenue            75 Remittance Drive Dept. 6627                  PO Box 116228
Atlanta, Ga 30341                             Chicago, IL 60675-6627                          Atlanta, GA 30368-6228



Alexander Gray Hait                           S. Gregory Hays                                 Alan Hinderleider
Hait & Kuhn                                   Hays Financial Consulting, LLC                  Office of the United States Trustee
Suite 100                                     Suite 555                                       362 Richard B Russell Federal Building
185 Stockwood Drive                           2964 Peachtree Road                             75 Ted Turner Drive, S.W.
Woodstock, GA 30188-3889                      Atlanta, GA 30305-4909                          Atlanta, GA 30303-3315

(p)INTERNAL REVENUE SERVICE                   Internal Revenue Service                        Barbara Jennings
CENTRALIZED INSOLVENCY OPERATIONS             POB 7346                                        3720 Montrose Pond Walk
PO BOX 7346                                   Philadelphia, PA 19101-7346                     Duluth, GA 30096-6633
PHILADELPHIA PA 19101-7346


John’s Creek Specialists Center               Brian K. Jordan                                 LVNV Funding, LLC
PO BOx 650292                                 Aldridge Pite, LLP                              Resurgent Capital Services
Dallas, TX 75265-0292                         Six Piedmont Center, Ste 700                    PO Box 10587
                                              3525 Piedmont Road, N.E.                        Greenville, SC 29603-0587
                                              Atlanta, GA 30305-1578
               Case 19-53917-sms             Doc 89       Filed 04/05/23            Entered 04/05/23 12:39:56           Desc Main
Ronald A. Levine                                     (p)DSNB  MACY S
                                                         Document           Page 9 of 10                  McClure Place HOA, Inc.
Levine & Block, LLC                                  CITIBANK                                             Community Mgmt Assoc.
P.O. Box 422148                                      1000 TECHNOLOGY DRIVE MS 777                         1465 Northside Drive, STE 128
Atlanta, GA 30342-9148                               O FALLON MO 63368-2222                               Atlanta, GA 30318-4244


Bryce R. Noel                                        Northeast Endoscopy Center, LLC                      Ocwen
Aldridge Pite, LLP                                   721 Wellness Way                                     Po Box 24646
3575 Piedmont Road, NE, Suite 500                    SUite 110                                            West Palm Beach, FL 33416-4646
Fifteen Piedmont Center                              Lawrenceville, GA 30046-3304
Atlanta, GA 30305-1527

Optimum Outcomes Inc                                 John T. Ruff                                         K. Edward Safir
2651 Warrenville Rd Ste                              Kenneth Nugent, P.C.                                 Standing Chapter 13 Trustee
Downers Grove, IL 60515-5559                         1355 Peachtree St. NE                                Suite 1600
                                                     Suite 1000                                           285 Peachtree Center Ave. NE
                                                     Atlanta, GA 30309-3270                               Atlanta, GA 30303-1259

TD BANK USA, N.A.                                    Td Bank Usa/Targetcred                               Thd/Cbna
C/O WEINSTEIN & RILEY, PS                            Po Box 673                                           Po Box 6497
2001 WESTERN AVENUE, STE 400                         Minneapolis, MN 55440-0673                           Sioux Falls, SD 57117-6497
SEATTLE, WA 98121-3132


U.S. Bank National Association                       U.S. Department of Education                         US Department of Education
Ocwen Loan Servicing, LLC                            c/o FedLoan Servicing                                PO Box 16448
Attn: Bankruptcy Department                          P.O. Box 69184                                       St. Paul, MN 55116-0448
PO Box 24605                                         Harrisburg, PA 17106-9184
West Palm Beach, FL 33416-4605

US Department of Education                           US Dept. of Education                                United States Attorney
Po Box 790336                                        Edfinancial Services                                 Northern District of Georgia
Saint Louis, MO 63179-0336                           120 N. Seven Oaks Dr.                                75 Ted Turner Drive SW, Suite 600
                                                     Knoxville, TN 37922-2359                             Atlanta GA 30303-3309


United States Trustee
362 Richard Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, GA 30303-3315




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One Bank Usa N                               Chase Card                                           Ford Motor Credit Company, LLC
15000 Capital One Dr                                 Po Box 15298                                         Drawer 55-593
Richmond, VA 23238                                   Wilmington, DE 19850                                 P.O. Box 55000
                                                                                                          Detroit, MI 48255-0953


Georgia Department of Revenue                        Internal Revenue Service                             Macys/Dsnb
ATTN: Bankruptcy Department                          401 West Peachtree Street                            Po Box 8218
1800 Century Blvd., N.E.                             M/S 334-D                                            Mason, OH 45040
Suite 9100                                           Atlanta, GA 30308-3539
Atlanta, GA 30345-0000
               Case 19-53917-sms             Doc 89      Filed 04/05/23 Entered 04/05/23 12:39:56                       Desc Main
                                                        Document     Page 10 of 10

                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Capital One Bank (USA), N.A.                      (u)Ford Motor Credit Company, LLC, A Delaware        (u)N Metropolitan Radiology
by American InfoSource as agent                                                                           PO Box 1746
4515 N Santa Fe Ave
Oklahoma City, OK 73118-7901


(u)Ocwen Loan Servicing, LLC                         (u)U.S Bank National Association                     End of Label Matrix
                                                                                                          Mailable recipients   48
                                                                                                          Bypassed recipients    5
                                                                                                          Total                 53
